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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                               Plaintiffs,
                                                     C.A. No: 1:25-cv-10495-IT
                 v.

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                               Defendants.


       PLAINTIFFS’ SUPPLEMENTAL MOTION FOR CLASS CERTIFICATION

        Plaintiffs, including the Proposed Class Representatives Svitlana Doe, Maksym Doe,

Maria Doe, Alejandro Doe, Armando Doe, Ana Doe, Carlos Doe, Omar Doe, Kyle Varner, Wilhen

Pierre Victor, Valentin Rosales Tabares, Marim Doe, Adolfo Gonzalez, Jr., Aleksandra Doe,

Teresa Doe, Rosa Doe, Norma Lorena Dus, Gabriela Doe, Daniel Doe, Miguel Doe, and Lucia

Doe (“Proposed Class Representatives”), on behalf of themselves and the proposed class they seek

to represent, move to certify a class pursuant to Rule 23. This motion supplements Plaintiffs’ prior

certification motion (Doc. No. 46) to expand the proposed class definition to add an additional

subclass, as well as to appoint additional Class Representatives.

        The Proposed Class Representatives respectfully request that this Court issue an order

certifying a class that is defined as:

    a) All individuals with pending applications to sponsor a beneficiary for any humanitarian
       parole process, including but not limited to U4U, CHNV, FRP, MPIP, and CAM, which
       applications are subject to the January 20 Huffman memo and subsequent actions by
       Defendants to pause or otherwise terminate the processing of such applications (the
       “Sponsor Subclass”);

    b) All individuals who have received parole through humanitarian parole processes, including but
       not limited to U4U, CHNV, OAW, FRP, MPIP, and CAM, which parole is subject to the March
       25 FRN and subsequent similar actions by Defendants to rescind individual grants of parole on
       a categorical and en masse basis (the “Rescinded Parolee Subclass”); and

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   c) All individuals who have received humanitarian parole through already established
      humanitarian parole processes, such as the U4U, CHNV, OAW, FRP, MPIP, and CAM parole
      processes, with any pending applications for any additional immigration benefit, which
      applications are subject to the “administrative hold” set out in the February 14 Davidson
      memorandum, the January Higgins Directive, and other subsequent actions by Defendants to
      pause or otherwise terminate the processing of such applications (the “Immigration Benefits
      Subclass”).

       Plaintiffs would exclude from the class definition any individuals or groups who choose
       to opt out of the class in order to seek relief in separate litigation.

       The Plaintiffs also respectfully request that this Court appoint the undersigned as class

counsel and the Proposed Class Representatives as class representatives.

       The basis for this motion for class certification is that the proposed class meets all of the

requirements for class treatment under Rule 23(a) and (b)(2), and the proposed class counsel meet

all of the requirements set forth in Rule 23(a) and (g). The grounds for this motion are explained

in the accompanying memorandum of law.

       A Proposed Order is filed herewith.

                            REQUEST FOR ORAL ARGUMENT

       Plaintiffs respectfully request an oral argument Pursuant to Local Rule 7.1(d). Plaintiffs

note that the Court has scheduled argument for April 10 on this motion. Doc. No. 63.




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Dated: March 27, 2025                              Respectfully submitted,

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                      CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

The parties have conferred pursuant to Local Rule 7.1(a)(2). Defendants oppose this motion.

Dated: March 27, 2025

                                              /s/ John A. Freedman
                                              John A. Freedman




                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: March 27, 2025



                                              /s/ John A. Freedman
                                              John A. Freedman




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